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             EXHIBIT 9
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     "official request by the Italian Government"

2),Donna will discuss the mutagenicity issue with Kerry Preete/Mike Sterns
..3) The group recommended testing the full formulations
/



     - However before any testing begins on a formulation, generation
     and/or review of the mutagenicity data on each of the individual
     components must be completed first. If the individual component
     data is not sufficient it was recommended that studies be conducted
     on the individual components prior to initiating any testing on the
     full formulation.

              - MON 52276 - Larry Kier will review results of mutagenicity
             tests on each of the components (MON 8151/Dodigen 4022, and
             Tween 20). [Donna will get references to Larry.] If the data
             look reliable - recommend beginning the following tests on the
             formulation ASAP (Results of the mutagenicity tests are needed
             by 4/26 in time for the ECCO Tox evaluations):

                     AMES assay
                     In vivo Mouse Micronucleus assay
                     In vitro human lymphoctye cytogenetic assay

                     * Donna will contact Hema Murli at Covance for cost
                     and starting dates for the studies

             - MON 35012 - as no mutagenicity data could be found on the
             cocoamine surfactant it was recommended to put the cocoamine
             surfactant into the following screens:

                     MicroAmes
                   _ MicroMicronucleus

                     *Donna will contact Monsanto's Investigative Tox Group
                     regarding cost and starting dates

            - MON 35050 - this is the Italian formulation used in the
            Peluso and Bolognesi papers. While it is no longer on the
            market it was deemed valuable to conduct an in vivo mouse
            micronucleus study.

                     * Donna contact Hema Murli at Covance regarding study
                     cost and starting date


4)    The development of a "positive" press release was requested.
      Please comment on the DRAFT below.

                           DRAFT   DRAFT   DRAFT    DRAFT

             "Several genotoxicity studies have been conducted on
             glyphosate, the surfactants in glyphosate formulations, and
             other closely-related surfactants. Studies have also been
             performed on Roundup herbicide and other glyphosate
             formulations. None of these studies have shown any adverse
             findings. Based on all these results, we are confident that
             glyphosate herbicide products are not genotoxic and therefore
             to not present a mutagenic or carcinogenic risk to humans and
             animals. We will continue to diligently consider concerns
             raised in this area and will support our conclusions on the
             safety of Roundup herbicides with appropriate scientific




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             information and studies."


.5).   A "detergent molecule" testing program was recommended to better
       understand and address the SCE (sister chromatid exchange)
       findings in some of the studies. Further meetings will be
       necessary to work out the details, however a 6/99 start date was
       projected.


6).    External global network of genotox experts:

             - EU
                     - While Dr. Parry is a recognized genotox expert what is
                     not known is how he views some of the "non-standard
                     endpoints" (such as SCE, DNA P-32 postlabling, Comet
                     assays etc) evaluated in the genotox articles by Rank,
                     Bolognesi etc.
                     - Therefore it was recommended that before we ask him to
                     get more deeply involved (reviewing all the literature,
                     glyphosate data; represent us as a consultant with
                     regulators, etc) we would ask him to review a subset of
                     the articles.
                     - It was proposed that              would contact Dr.
                     Parry and ask him for a written review the articles by
                     Rank, Bolognesi, Peluso & Lioi
                     - Based on his critique of the the genotox papers a
                     decision would be made as to expanding or terminating
                     his involvement.
                     - Regarding       ■■■I,      no further contact will be

                                   ■■■■■■■
                     made at this time. When a clear role has been
                     identified for             Alan will contact him.
                     - Money for this initial consultation will come from
                                   budget. A bigger initiative will require
                     additional funds to be located.

             - �A
                        Expanded discussions with Dr. Gary Williams on
                    genotox issues will occur as part of the CANTOX meetings
                    (2/5,6&7).   Dr. Williams is recognized internationally
                    as a genotox expert and might be used in Europe on a
                    contingency basis.

             - LA/SEA - no action at this time

7).    There is a concern that the papers by Lioi et al, may present an
       even bigger problem because the studies are with glyphosate and
       are on a more standard endpoints. The results of the human
       lymphocyte test by Lioi do not agree with the toxicity and data in
       the human lymphocyte study by Agrichem at NOTOX therefore it was
       recommended that:

                     - Larry Kier will finalize his rebuttal
                     - Include the Lioi papers in the articles to be reviewed
                       by Dr. Parry
                     - Bill/Donna will draft for Larry a letter to the
                       editor or a short publication to be submitted to the
                       journal upon receipt of Parry's evaluation


8).    While there is $90K in the glyphosate toxicology testing budget
       for mutagenicity testing, this may not be enough. Further




                                                                            MONGLY01312108
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Author:
Date:     1/28/99 3:50 PM
Priority: Normal
TO: ALAN GE WILSON at MONSL125
TO: LARRY D KIER at MONSL7.01
TO: DONNA R FARMER at MONSL125
TO: WILLIAM F HEYDENS at MONSL216
Subjec·t: Re[8] : DRAFT of Minutes - 1/15 Meeting
                                       Message Contents
     Bill,

     That's true, let's have a look at it.

     Regards,_


                               Reply Separator
Subject: Re[7]: DRAFT of Minutes - 1/15 Meeting
Author: WILLIAM F HEYDENS at MONSL216




   -
Date:    1/28/99 7:34 AM




     I hear you. But that's what we said about alachlor (UDS follow-up),
     and look what we got after 12 hours.

     Bill

                               Reply Separator
Subject: Re[6): DRAFT of Minutes - 1/15 Meeting
Author:
Date:    1/28/99 2:05 PM


     Bill,

     I wonder whether we would already see important changes in serum
     enzyme levels after such a short time.

     Regards,_


                               Reply Separator
Subject: Re[5]: DRAFT of Minutes - 1/15 Meeting
Author: WILLIAM F HEYDENS at MONSL216
Date:    1/28/99 6:40 AM


     All,

     I have no problem examining liver and kidney on MON 35050 as­
     suggests.  In concept, this is what we did with alachlor and were
     somewhat surprised and delighted that we found such a marked response.
     Would we want to include serum enzyme analysis too as long as we are
     going this far?




                                                                              MONGLY01312109
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    ..                         Reply Separator
Subject: Re[4]: DRAFT of Minutes - 1/15 Meeting
Author:
Date:    1/28/99 11:51 AM



    Donna,

    Sorry to jump in so late but I had first to get a triallate problem in the
    UK out of the way.

    I reviewed the minutes and find the text in agreement with the discussions
    we had in St Louis. Something for which we didn't formulate a conclusion
    during the meeting was whether we shouldn't look in the histopathology of
    the liver and the kidneys in the I.P. micronucleus test of MON 35050. If we
    would find severe lesions (e.g. infammatory) then this could help us in
    putting the Peluso findings in a better context.

     I fully support the text that was prepared for the public statement
     (brochure) in Denmark.

     In the meantime I contacted Parry and a letter of authorisation with the
     papers is underway to him. A report is expected by mid February. As soon
     as I get'it I will submit it to you for critical review and assessment of
     further action.

     Regards, -

                               Reply Separator
Subject: Re[3): DRAFT of Minutes - 1/15 Meeting.
Author: DONNA R FARMER at MONSL125
Date:    1/27/99 3:03 PM


     Please find revised minutes with comments incorporated from Alan, Larry and
     Bill.


     morning to Hjelle, Fuhremann, Fuller, ■■■■
     If there are no more comments/changes etc. I will distribute them in the
                                                   Preete/Stern (have asked to
     meet with them no time set up yet), Dirks, Wratten, GGRST? others
     add/delete?

     Donna

     ****************************


     In attendance:

     Donna Farmer
     Bill Heydens
     Larry Kier

     Alan Wilson


     1) Donna will ask              for clarification on exactly what was the




                                                                                MONGLY01312110
